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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

RACHEL HARRIS, GUARDIAN OF
STEVEN JESSIE HARRIS ON BEHALF OF
STEVEN JESSIE HARRIS                                                              PLAINTIFFS

VS.                                             CIVIL ACTION NO. 1:18-cv-00167-MPM-RP

CLAY COUNTY, MISSISSIPPI, ET AL.                                               DEFENDANTS



            ORDER GRANTING MOTION TO FILE EXHIBIT UNDER SEAL


        Before the Court is the Motion by the defendant, Dr. Sarker Aleem, for an Order granting

him permission to file two exhibits to a Motion for Summary Judgment he intends to file under

seal, and, the Court having considered the motion, hereby finds that the motion is well-taken and

should be granted.

        IT IS HEREBY ORDERED AND ADJUDGED that the defendant’s Exhibit B and

Exhibit C to his Motion for Summary Judgment, which are Chancery Court Commitment

pleadings concerning Steven Jessie Harris, be filed under seal.

        SO ORDERED this the 2nd day of October, 2020.



                                              /s/ Michael P. Mills
                                              UNITED STATES DISTRICT JUDGE
                                              NORTHERN DISTRICT OF MISSISSIPPI
